Case 23-52696-jwc            Doc 239        Filed 01/09/24 Entered 01/09/24 12:20:50                     Desc Main
                                           Document      Page 1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

                                                                  )
    In re:                                                        )       Chapter 11
                                                                  )
    ENVISTACOM, LLC, 1                                            )       Case No. 23-52696-jwc
                                                                  )
                             Debtor.                              )       Related to Docket No. 220
                                                                  )

             NOTICE OF (I) ENTRY OF ORDER CONFIRMING DEBTOR’S SECOND
             MODIFIED FIRST AMENDED COMBINED DISCLOSURE STATEMENT
                     AND CHAPTER 11 PLAN OF LIQUIDATION AND
                         (II) OCCURRENCE OF EFFECTIVE DATE

       PLEASE TAKE NOTICE that, on November 15, 2023, the Honorable Jeffrey W.
Cavender, United States Bankruptcy Judge for the United States Bankruptcy Court for the
Northern District of Georgia (the “Court”), entered an order [Docket No. 220] (the “Confirmation
Order”), confirming the Debtor’s Second Modified First Amended Combined Disclosure
Statement and Chapter 11 Plan of Liquidation [Docket No. 220-1] (as amended, modified, or
supplemented, the “Plan”) 2 of the above captioned debtor and debtor-in-possession (the “Debtor”).

        PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
January 8, 2024. Each of the conditions precedent to consummation of the Plan enumerated in
Article XIII.B of the Plan has been satisfied or waived pursuant to Article XIII.D of the Plan.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Confirmation Order, the
release, injunction, and exculpation provisions in Article XIV of the Plan are now in full force and
effect.

        PLEASE TAKE FURTHER NOTICE that requests for payment of Professional Fee
Claims must be filed with the Court and served on counsel for the Liquidating Trustee and counsel
for the U.S. Trustee by February 22, 2024, which is the date 45 days after the Effective Date.

       PLEASE TAKE FURTHER NOTICE that requests for payment of an Administrative
Expense Claim must be filed with the Court and served on the Liquidating Trustee and its counsel
by February 7, 2024, which is the date 30 days after the Effective Date.



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      The last four digits of Envistacom, L.L.C.’s federal employer identification number are 4836. The service address
      for Envistacom, L.L.C. is 2870 Peachtree Road, #502, Atlanta, Georgia 30305.
2
      Capitalized terms used not but otherwise defined herein shall have the meanings ascribed to them in the Plan.
Case 23-52696-jwc     Doc 239     Filed 01/09/24 Entered 01/09/24 12:20:50          Desc Main
                                 Document      Page 2 of 2



        PLEASE TAKE FURTHER NOTICE that the Plan, the Plan Supplement, the
Confirmation Order, and any other document filed in this chapter 11 case may be examined by any
party-in-interest at the Debtor’s case website (http://dm.epiq11.com/Envistacom); or at the
Bankruptcy Court’s website (www.ganb.uscourts.gov) (a PACER account is required). Such
documents may also be obtained by written request to Epiq Corporate Restructuring, LLC at
Envistacom@epiqglobal.com.

       PLEASE TAKE FURTHER NOTICE that the Plan and the Confirmation Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and the
Confirmation Order in their entirety.

Dated: Atlanta, Georgia                    MCDERMOTT WILL & EMERY LLP
       January 9, 2024
                                           /s/ Daniel M. Simon
                                           Daniel M. Simon (Georgia Bar No. 690075)
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                                           Atlanta, Georgia 30309
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                                           - and -

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                                           Counsel for Debtor and Debtor-in-Possession




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